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3. mnifaadaot,siaiar‘ma Fiiiaiid casualty company (“siara Fiim Fin'= ind Cisuilty"~),ii
o foreign corporation conducting regular bisinzsa in R.ogars County. Oklahoma'_
4. 'I'he actsi commences and omissions complained of herein occurred:in Rogers Couxrty.

Oklahoma.
5. This Court has jurisdiction and venue is proper 1a Rogors Comty, Okl'aliomn.
EAQ`§.§SLMMQEIQ.ALLCLMS
6. Paragm$hs 1’-5 are inooxpozaredherein by reference

7. At andmes rele the acts and omissions alleged herein, PlainiiEhad a32005 Skeeter
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8. InMa`r¢erOlZ, Plnlnd§ooticed.ihl£ his boat was damaged aftermkmgxtontona.lske The
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conditions preoedenr fnrpaymc_n_t of claims under said lnsuranoe ~policy.
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